                     Case 1:24-cv-01323-DII          Document 9         Filed 12/16/24        Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                 Western District
                                             __________  District of
                                                                  of __________
                                                                     Texas


                     Michael Chad Black                        )
                             Plaintiff                         )
                                v.                             )      Case No.     1:24-cv-1323
                     Ideal Concepts, Inc.                      )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Ideal Concepts, Inc.                                                                                         .


Date:          12/16/2024                                                                 /s/ Allyson Cady
                                                                                         Attorney’s signature


                                                                                      Allyson Cady (0098830)
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